Case 1:12-cv-O4992-KBF Document 334 Filed 01/25/18 Page 1 of 3
Case 1:12-cv-04992-KBF Document 333 Filed 01/24/18 Page 1 of 3

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January 24, 2018

Via ECF

Hon. Katherine B. Forrest

United States District Court

500 Pearl Street, Room 2230

New York, New York 10007-1312

Re: Ritchfe v. Northem Leasz°ng Sysz‘ems, Inc. et al;

No. 12-cv-4992 §KBE 1

Dear Jadge Forrest:

1 Write in response to the Court’s directive (ECF No. 330) to provide the Court with a
status report concerning the bankruptcy cases filed by Chittur & Associates, P.C. (“C&A”) and
Krishnan Shanker Chittur and their effect on Movants’ motion for sanctions (ECF No. 287) (the
“Sanctions Motion”). That motion was administratively terminated and held in abeyance on
December 14, 2017 pending the Court’s receipt of status reports from the parties (ECF No.
330).

Statl_ls of the Chittur Bankruptcv

Mr. Chittur filed a petition under Chapter 7 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of`NeW York on October 12, 2016 (16-bk-23397
[RDD]) (the “Chittur Bankruptcy”). A copy of the Petition is submitted as Exhibit A. An Order
Discharging Debtor (the “Diseharge Order”) Was issued in the Chittur Bankruptcy on September
21, 2017. A copy of the Diseharge Oi'der is annexed hereto as Exhibit B. The Chittur
Banl;ruptey remains open.

As reflected in the Certificate of`Notice filed on October 16, 2016 t§xhibit C), notice of
the Chittur Bankruptcy filing Was not sent to any of the Movants or their counsel No notice of
the Chittur Bankruptcy has ever been provided to any of the Movants or their counsel Further,
Mr. Chittur’s contingent, unliquidated debt to Movants has never been listed on any schedule
filed by Mr. Chittur in the Chittur Bankruptcy.

Movants first learned of the bankruptcy case filed by C&A (the “C&A Bankruptcy”) and
the Chittur Bankruptcy on November 1, 2017, When one of` the Movants, Joseph Sussrnan, did a
search on Pacer for cases involving Mr. Chittur and came upon the C&A Bankruptcy, Which led

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Case 1:12-cv-O4992-KBF Document 334 Filed 01/25/18 Page 2 of 3
Case 1:12-CV-04992-KBF Document 333 Fiied 01/24/18 Page 2 of 3

Hon. Katherine B. Forrest
.lanuary 24, 2018
Page 2

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at a later point to the discovery of the Chittur Bankruptcy. Prior to November 1, 2017, Movants
had no notice or actual knowledge of either the C&A Bankruptcy or the Chittur Bankruptcy.

A. The Automatic Stay No Longer Applies To Proceedings Against Mr. Chittur

Under ll U.S.C. § 362(c)(2)(C), the automatic stay in bankruptcy does not apply to any
individual who has received a discharge in Chapter 7. Because Mr. Chittur received a discharge
on Septernber 21 , 2017, the automatic stay ceased to apply as of that date.

B. Mr. Chittur’s Uniiquidated.Debt To Movants Has Not Been Discharged

Based on the facts that have now come to light, Movants ask the Court to rule that the
Discharge Order does not discharge Mr. Chittur’s contingent, unliquidated debt to Movants, and
that there is no legal impediment to the resumption of the Sanctions Motion as to Mr. Chittur as a
result of the Chittur Bankruptcy.

Mr. Chittur did not list Movants’ claim as an unliquidated debt in his bankruptcy
schedules and Movants did not receive notice of the Chittur Bankruptcy. Because Movants had
no actual knowledge of the Chittur Bankruptcy prior to the Discharge Order, the injunction
contained therein should not apply to the Sanctions Motion. fn re Massa, 187 F.3d 292 (2d Cir.
1999); 11 U.S.C. §523(a)(3)(13). Had Movants been notified of Mr. Chittur’s Chapter 7 filing,
Movants Would have been able to successfully object to discharge of` Mr. Chittur’s unliquidated
debt to Movants under l 1 U.S.C. §563(a)(6) on the ground that his debt to l\/Iovants was the
result of willful and malicious conduct on the part of Mr. Chittur, i.e. his bad faith filing of
multiple pleadings that contain factual allegations for which there never was any evidentiary
support, and his bad faith conduct in pursuing claims on behalf of Ms. Ritchie even after both he
and Ms. Ritchie admitted that there was no factual basis for those allegations

For the foregoing reasons, Movants respectfully ask the Court to determine that l\/lr.
Chittur’s contingent, unliquidated debt to Movants was not discharged by the Discharge Order,
that the discharge injunction under 11 U.S.C. §524 does not apply to proceedings against Mr.
Chittur in connection with the Sanctions Motion, and that there is no impediment to further
proceedings in connection with the Sanctions Motion against Mr. Chittur as a result of the
Chittur Banlcruptcy.

'I`he C&A Bankruptcy

C&A filed a petition under Chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southei'n District of New York (16-bk~22704 [RDD]) on May 24,
20l6. A copy of the C&A Banl§ruptcy Petition is annexed hereto as Exhibit D.

C&A filed a motion to voluntarily dismiss the C&A Bankruptcy on December 7, 2017.
(ECF No. 138). rfhat motion is returnable on February 13, 2018. If` that motion is granted, there

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Case 1:12-cv-O4992-KBF Document 334 Filed 01/25/18 Page 3 013
Case l:lZ~cv-O4992-KBF Document 333 Filed 01/24/18 Page 3 of 3

I-Ion. Katherine B. Forrest
January 24, 2018

Page 3

will be no impediment to moving forward with the Sanctions Motion as against C&A. However,
until that motion is decided, the automatic stay applies. -

   
 
 
   
  
  
  

Movants filed a Motion For Relief Frorn the Automatic Stay to permit Movants to
liquidate their claim against C&A in this Court on January 23, 2018. That motion is returnable
on February 13, 2018. Movants ask the Court to continue to hold the Sanctions Motion in
abeyance until Movants’ motion for relief from the stay in the C&A bankruptcy is decided by the
bankruptcy court, or until the C&A Bankruptcy is dismissed, whichever comes first.

Respectfully submitted,
MOSES & SINGER LLP
/s/'

Robert D. Lillienstein

cc: ViA ECF
Thomas J. Kavaler, Esq.
Scott E. Silberf`ein, Esq.
Krishnan S. Chittur, Esq.

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